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                                UNITED STATES DISTR1:CT COU
                                                                        r·,.-· ""··, · , .,"...., ' ', , . .,.   »''>'''''-'--.

                              SOUTHERN DISTRICT OF CALIFO            IA:                                                     i
                                                                              I SEP 3 0 2011 (
                                                                              t .~""""


UNITED STATES   o~ AMERICA,                                         SC:41;~A.;': i: I~', '

                     I         Plaintiff,
                vs                                JUDGMENT OF DISMISSAL
NICOLAS DE LA TqRRE (02),
                ,i
                 I
                    Defendant.


          IT APP ARING that the defendant is now entitled to be discharged
for the reas9n tat:
            I

     an indictme t has been filed in another case against the defendant and
     the Court h s granted the motion of the Government for dismissal of
     this case,  ithout prejudice; or

     the Court h         Si   dismissed the case for unnecessary delay; or

_x_ the Court h si granted the motion of the Government for dismissal; or
     the Court h s granted the motion of the defendant for a judgment of
     acquittkl;  r

     a jury has      te~n waived, and the Court has found the defendant not
     guilty; or           :

     the jury ha          ~eturned    its verdict, finding the defendant not guilty;

     of the offe         s~(s)    as charged in the Indictment/Information:




          IT IS tHEREFORE


 DATED: 9/29/201
                                                  MICHAEL M. ANELLO
                                                  UNITED STATES DISTRICT JUDGE
